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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

              JOSE MAGANA BARAJAS,                              CRIMINAL NO.
                  Movant,                                       1:05-CR-0477-8-CC-GGB

                       v.                                       CIVIL ACTION NO.
                                                                1:09-CV-03459-CC-GGB
              UNITED STATES OF AMERICA,
                  Respondent.                                   MOTION TO VACATE
                                                                28 U.S.C. § 2255


                               FINAL REPORT AND RECOMMENDATION

                   Jose Magana Barajas (“Barajas” or “Defendant”) has filed a motion to vacate

             sentence under 28 U.S.C. § 2255 [Doc. 1471].          Barajas seeks to challenge the

             constitutionality of his 210-month sentence that was imposed on September 16, 2008,

             following his guilty plea on April 24, 2006. [Doc. 1162]. Presently before the Court for

             consideration are: (1) Barajas’s § 2255 motion to vacate [Doc. 1471]; (2) the United

             States of America’s (hereinafter “Government”) response to Barajas’s motion to vacate

             [Doc. 1489]; and (3) Barajas’s reply to the Government’s response [Doc. 1493]. In

             addition, Barajas has filed a supplement to his motion to vacate [Doc. 1565], to which

             the Government has responded [Doc. 1576], and Barajas has replied [Doc. 1577].




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             I.    BACKGROUND

                   On April 24, 2006, Barajas entered a negotiated plea of guilty to Count One of the

             superseding indictment, charging him and others with conspiring to (1) possess with

             intent to distribute at least 5 kilograms of cocaine, and (2) possess with intent to

             distribute at least 500 grams of methamphetamine, in violation of 21 U.S.C. § 846 and

             18 U.S.C. § 2. [Docs. 140, 545]. Barajas entered into a written plea agreement with the

             Government, in which Barajas waived his right to appeal or collaterally attack his

             sentence in the plea agreement. [Doc. 545 at 7, ¶ 14]. However, Barajas reserved the

             right to appeal an upward departure from the otherwise applicable sentencing guideline

             range. [Id.]. Barajas also reserved his right to appeal if the Government appealed the

             sentence. [Id.].

                   Paragraph five of Barajas’s plea agreement provided:

                          Based upon the evidence currently known to the Government, the
                   Government agrees to recommend, and the defendant agrees not to oppose,
                   the following applications of the Sentencing Guidelines:

                   a.     The applicable offense guideline is Section 2D1.1(c)(1);
                   b.     The quantity of controlled substances attributable to
                          Defendant for sentencing purposes is over one hundred and fifty
                          (150) kilograms of a mixture or substance containing a detectable
                          amount of cocaine, and over 1.5 kilograms of actual
                          methamphetamine.




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                   The parties acknowledge that these recommendations are not binding on
                   the Court or the Probation Office.

             [Doc. 545 at 3].

                   The plea agreement also provided that the Government would recommend that

             the defendant be sentenced to the low end of the applicable sentencing guideline range

             and that defendant agreed not to request a sentence outside the applicable sentencing

             guideline range as determined by the court. [Id. at 3-4].

                   The plea agreement did not address whether defendant would be given an

             adjustment for his role in the offense pursuant to U.S.S.G. § 3B1.1(c) which provides

             for a two level increase “. . . if the defendant was an organizer, leader, manager, or

             supervisor in any criminal activity.”

                   The pre-sentence report (“PSR”) prepared by the Probation Office calculated a

             base offense level of 38 based on the quantity of controlled substances attributed to the

             defendant.1


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                     The PSR found that defendant was responsible for 6,350.3 grams (6.35
             kilograms) of methamphetamine. (PSR ¶ 96) However, the PSR mistakenly stated that
             the plea agreement provided that defendant will be responsible for at least 150
             kilograms of cocaine and at least 150 kilograms of methamphetamine. (Id.). In fact,
             the plea agreement provided that the defendant would be responsible for at least 150
             kilograms of cocaine and 1.5 kilograms of methamphetamine. Neither party has
             raised this issue. However, I have considered the effect of this mistake in the PSR, and
             I have concluded that it was harmless because the mistake did not change the
             guidelines calculation. Regardless of the quantity of methamphetamine attributed to
             the defendant, his base offense level would have been 38 because of the 150 kilograms
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                   The PSR also recommended a two-level upward adjustment for defendant’s

             leadership role in the offense. (PSR, ¶ 99). The PSR stated in relevant part:

                   When customers of the organization needed methamphetamine, Javier
                   Alvarez-Lopez contacted either Jose Magana Barajas or his brother
                   “Abrahm.” . . . . In September 2005, “Abrahm” left the Northern District
                   of Georgia and Jose Magana Barajas took over control of his portion of the
                   operations in his absence. . . . . During the conspiracy, Magana-Barajas
                   directed the activities of Jose Angel Viorato-Lopez and Jose Luis Pimental.

             (PSR, ¶ 29).

                   With a base offense level of 38, an upward adjustment of 2 points for his

             leadership role in the offense, and a downward adjustment of 3 points for acceptance of

             responsibility, the PSR arrived at a total offense level of 37. (PSR, ¶ 103). The custody

             guideline range for that offense level (with a criminal history category of I) was 210 -

             262 months. (PSR p. 38).

                   Barajas’s counsel did not file any objections to the PSR.

                   The sentencing took place on September 16, 2008. [Doc. 1370]. Barajas’s

             attorney argued for a two-level downward departure, in effect arguing that Barajas

             should not receive the two-point enhancement for a leadership role. [Id. at 3-4]. He

             argued that Barajas’s brother ran the methamphetamine lab, that Barajas was just a


             of cocaine properly attributed to him. U.S.S.G. § 2D1.1(c)(1).
                   Moreover, as discussed below, the district court did not base the two point
             upward adjustment for defendant’s role in the offense on the quantity of
             methamphetamine attributable to defendant.
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             worker like the other individuals who had been arrested, and Barajas had only been in

             the United States for 45 days to two months prior to his arrest. [Id. at 8]. However, the

             attorney admitted that Barajas had come to the United States because his brother wanted

             to teach him the “business,” after which the brother went back to Mexico for thirty days.

             [Id.].

                      The government argued that the two-point enhancement was justified by the fact

             that Barajas was left in charge of the lab by his brother, and that Barajas supervised the

             work of two other individuals involved in the conspiracy. [Doc. 1370 at 9].

                      The district court decided to impose the two-point enhancement because of the

             statements in the PSR that Barajas was in charge of the methamphetamine lab. The

             Court noted that Defendant had not filed any objections to the PSR. The Court also

             found that there was no basis for a downward departure. [Id.]. The Court then sentenced

             Barajas to 210 months in prison and five years on supervised release. [Doc. 1162].

                      Barajas appealed, arguing that the district court did not comply with Rule 11 of

             the Federal Rules of Criminal Procedure during the plea hearing. United States v.

             Barajas, 334 F. App’x 940 (11th Cir. 2009). The United States Court of Appeals for the

             Eleventh Circuit found no plain error in Barajas’s guilty plea and affirmed Barajas’s

             conviction on June 12, 2009. Id.




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                   On December 8, 2009, Barajas filed this § 2255 motion [Doc. 1471]. Both the

             Government and Barajas characterize the motion as raising the following ineffective

             assistance of counsel grounds:

                   1.    counsel “assured” Barajas “that his cooperation was taken into
                         consideration by the U.S. Attorney’s Office” and that Barajas
                         “would not have to assume responsibility for acts [] in which he did
                         not directly participate” [Doc. 1471 at 3];

                   2.    Barajas “is being punished for a much larger amount of drugs and
                         length of participation in the conspiracy” because counsel failed to
                         “fully investigat[e] and research[] the relevant issues of the
                         conspiracy” and “obtain the best possible consideration from the
                         Government and the Court . . . .” [Id. at 3-4];

                   3.    counsel did not adequately prepare Barajas for sentencing and failed
                         to object to errors in the presentence investigation report (“PSR”)
                         [Id. at 8-9];

                   4.    at sentencing, Barajas attempted to protest the Court’s judgment, but
                         counsel “induced him to remain quiet” [Id. at 4];

                   5.    Barajas’s speedy trial rights were violated by counsel’s failure to
                         object to the delay between his plea and sentencing [Id. at 9-10];

                   6.    counsel “convinced [Barajas] to agree to a plea agreement” by
                         assuring Barajas that his sentence would be between 72 and 96
                         months “depending on [Barajas] having a clean record and the
                         results of his cooperation” [Doc. 1471 at 4]; and

                   7.    counsel “failed to negotiate favorable results” for Barajas [Doc. 1471
                         at 8].

             [Docs. 1471, 1565].



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                   After filing his motion, Barajas obtained new counsel, who sought and was

             granted permission from the Court to file a supplement to the original motion.

             [Docs. 1534, 1536, 1565]. In the supplement, Barajas provides additional arguments in

             support of Grounds Three and Six above. [Doc. 1565]. The Government has filed

             responses to the original motion and the supplemental brief. [Docs. 1565, 1576].

             II. STANDARD OF REVIEW

                   Under § 2255, individuals sentenced by a federal court can attack the sentence

             imposed by claiming one of four different grounds: “(1) that the sentence was imposed

             in violation of the Constitution or laws of the United States; (2) that the court was

             without jurisdiction to impose such sentence; (3) that the sentence was in excess of the

             maximum authorized by law; and (4) that the sentence is otherwise subject to collateral

             attack.” Hill v. United States, 368 U.S. 424, 426-27 (1962); see generally United States

             v. Hayman, 342 U.S. 205 (1952). “To obtain collateral relief a prisoner must clear a

             significantly higher hurdle than would exist on direct appeal.” United States v. Frady,

             456 U.S. 152, 166 (1982). Barajas must establish that the facts surrounding his claim

             present “exceptional circumstances where the need for the remedy afforded by the writ

             of habeas corpus is apparent.” Bowen v. Johnston, 306 U.S. 19, 27 (1939).

                   This Court may deny § 2255 relief without an evidentiary hearing if “the motion

             and the files and records of the case conclusively show that the prisoner is entitled to no


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             relief.” 28 U.S.C. § 2255; see Long v. United States, 883 F.2d 966, 968 (11th Cir. 1989).

             Under § 2255, however, an evidentiary hearing is required when the Court cannot

             determine from the record that the prisoner is entitled to no relief. United States v. Marr,

             856 F.2d 1471, 1472 (10th Cir. 1988). As discussed below, the motion and record of the

             case conclusively show that Barajas is not entitled to relief or to an evidentiary hearing.

             III. DISCUSSION

                   A. Barajas’s Waiver Precludes Him From Raising Ineffective Assistance Claims
                      Related to Sentencing.

                   The Government contends that the first five grounds raised by Barajas in his

             motion should not be entertained by the Court because Barajas, in the negotiated plea

             agreement, waived the right to collaterally attack his sentence. The waiver signed by

             Barajas states:

                   To the maximum extent permitted by federal law, the defendant voluntarily
                   and expressly waives the right to appeal his sentence and the right to
                   collaterally attack his sentence in any post-conviction proceeding on any
                   ground, except that the defendant may file a direct appeal of an upward
                   departure from the otherwise applicable sentencing guideline range. The
                   defendant understands that this Plea Agreement does not limit the
                   Government’s right to appeal, but if the Government appeals the sentence
                   imposed, the defendant may also file a direct appeal of his sentence.

             [Doc. 545 at 7, ¶ 14]. Barajas also signed a separate acknowledgment in the agreement

             that “I understand that the appeal waiver contained in the Plea Agreement will prevent




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             me, with the narrow exceptions stated, from . . . challenging my sentence in any post-

             conviction proceeding.” [Id. at 14].

                   A defendant who enters into a plea agreement may waive his right to appeal or

             collaterally challenge his sentence, and the waiver will be enforced if it is made

             knowingly and voluntarily. See United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir.

             2001); United States v. Bushert, 997 F.2d 1343, 1350 (11th Cir. 1993). “One of the keys

             to enforcing a sentence appeal waiver is that the defendant knew he had a ‘right to appeal

             his sentence and that he was giving up that right.’” Bushert, 997 F.2d at 1350 (quoting

             United States v. Rutan, 956 F.2d 827, 830 (8th Cir. 1992)). In order to prevail in an

             argument to enforce a waiver, the Government must show that either “(1) the district

             court specifically questioned the defendant concerning the sentence appeal waiver during

             the Rule 11 [plea] colloquy, or (2) it is manifestly clear from the record that the

             defendant otherwise understood the full significance of the waiver.” Bushert, 997 F.2d

             at 1351.

                   Barajas acknowledged at the plea hearing that the plea agreement provided his

             intention to plead guilty, that he had signed it, and that he had no questions for the Court.

             [Doc. 1369 at 2, 21, 24]. In addition, the Court addressed the negotiated appeal waiver

             with Barajas during the Rule 11 plea colloquy as follows:




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                   THE COURT: Do you also understand that under some circumstances you
                   or the Government may have the right to appeal any sentence this Court
                   might impose pursuant to the guidelines?

                   THE DEFENDANT: Yes.

                   THE COURT: In your plea agreement – did he agree to a limited waiver?

                   MR. STEWART (Barajas’s Counsel): I think there was, Your Honor, yes,
                   sir.

                   THE COURT: Okay. Do you understand that in your plea agreement you
                   agreed not to appeal your sentence unless the sentence is an upward
                   departure from the applicable custody guideline range?

                   THE DEFENDANT: Yes.

                   THE COURT: Or if the Government appeals, then you will be able to
                   appeal.

                   THE DEFENDANT: Yes.

                   THE COURT: Only in those two instances will you be allowed to appeal
                   your sentence.

                   THE DEFENDANT: Yes.

                   THE COURT: Do you understand that you also gave up your right to
                   collaterally attack your sentence in a post-conviction hearing pursuant to
                   Section 2255?

                   THE DEFENDANT: Yes.

             [Doc. 1369 at 15-16].

                   It is clear from the record that Barajas knowingly and voluntarily waived his right

             to appeal and collaterally challenge his sentence. Barajas specifically acknowledged by

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             signing the appeal waiver that he understood and agreed to waive his appeal rights.

             [Doc. 545]. Further, the Court explained to Barajas during the plea colloquy that he was

             waiving his right to collaterally attack his sentence by signing the appeal waiver, and

             Barajas indicated that he understood that he had waived that right. [Doc. 1369 at 16];

             see United States v. Stevenson, 131 F. App’x 248, 250 (11th Cir. May 12, 2005) (holding

             that, for a waiver to be valid, “during the plea colloquy, the district court must at least

             refer to the fact that the defendant is waiving his rights to appeal his sentence under most

             or certain circumstances”). Thus, Barajas’s waiver is valid.

                   When a Movant challenges the constitutionality of his conviction or sentence after

             having waived the right to do so in a plea agreement, “the right to mount a collateral

             attack pursuant to § 2255 survives only with respect to those discrete claims which relate

             directly to the negotiation of the waiver.” Jones v. United States, 167 F.3d 1142, 1145

             (7th Cir. 1999). Finding that “a valid sentence-appeal waiver, entered into voluntarily

             and knowingly, pursuant to a plea agreement, precludes the defendant from attempting

             to attack, in a collateral proceeding, the sentence through a claim of ineffective

             assistance of counsel during sentencing,” the Eleventh Circuit opined that to hold

             otherwise would “permit a defendant to circumvent the terms of the sentence-appeal

             waiver simply by recasting a challenge to his sentence as a claim of ineffective




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             assistance, thus rendering the waiver meaningless.” Williams v. United States, 396 F.3d

             1340, 1342 (11th Cir. 2005).

                   Here, Barajas’s claims in Grounds Two through Five deal with sentencing issues

             and do not relate to the negotiation of the plea or waiver. Thus, Barajas’s waiver of his

             rights to challenge his sentence is controlling with respect to his ineffective assistance

             of counsel claims in Grounds Two through Five. See United States v. Smith, 371 F.

             App’x 901, 904 (10th Cir. 2010) (holding defendant’s claim that his trial counsel was

             ineffective for failing to object to PSR was within scope of appellate waiver contained

             in his plea agreement).

                   B.   Barajas’s Ineffective Assistance of Counsel Claims Not Precluded By the
                        Waiver Are Without Merit.

                   In Grounds One, Six and Seven, Barajas argues that counsel was ineffective

             because counsel made false assurances to him in order to convince him to enter into the

             plea agreement, and failed to negotiate a favorable plea agreement. These claims

             arguably relate to the negotiation of the plea or waiver. Thus, I will assume for purposes

             of this opinion that these claims are not barred by the waiver.

                   The standard for evaluating ineffective assistance of counsel claims was set forth

             in Strickland v. Washington, 466 U.S. 668 (1984). The analysis is two-pronged, and the

             court may “dispose of ineffectiveness claims on either of its two grounds.” Atkins v.

             Singletary, 965 F.2d 952, 959 (11th Cir. 1992); see also Strickland, 466 U.S. at 697

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             (“[T]here is no reason for a court deciding an ineffective assistance claim . . . to address

             both components of the inquiry if the defendant makes an insufficient showing on

             one.”).

                   Barajas must first show that “in light of all the circumstances, the identified acts

             or omissions were outside the wide range of professionally competent assistance.”

             Strickland, 466 U.S. at 690. The Court must be “highly deferential,” and must “indulge

             in a strong presumption that counsel’s conduct falls within the wide range of reasonable

             professional assistance.” Id. at 689. “To overcome Strickland’s presumption of

             reasonableness, [Barajas] must show that ‘no competent counsel would have taken the

             action that his counsel did take.’” Allen v. Secretary, Florida Dep’t of Corr., 611 F.3d

             740, 751 (11th Cir. 2010) (quoting Chandler v. United States, 218 F.3d 1305, 1315 (11th

             Cir. 2000) (en banc)).

                   To meet the second prong, Barajas must also demonstrate that counsel’s

             unreasonable acts or omissions prejudiced him. See Strickland, 466 U.S. at 694. To

             prevail on prejudice, Barajas must demonstrate “‘a reasonable probability that, but for

             counsel’s errors, he would not have pleaded guilty and would have insisted on going to

             trial.’” Premo v. Moore, 131 S. Ct. 733, 743 (2011) (quoting Hill v. Lockhart, 474 U.S.

             52, 59 (1985)).




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                   Barajas has failed to meet either prong of the Strickland standard with regard to

             his claims that counsel (1) assured him that his cooperation was taken into consideration

             by the U. S. Attorney’s Office; (2) assured him that he would not have to assume

             responsibility for acts in which he did not directly participate; and (3) convinced him to

             enter into a plea agreement by assuring him that he would receive a sentence between

             72 and 96 months.

                   The plea agreement signed by Barajas indicated the statutory maximum and

             minimum penalties for his offense, and Barajas was informed of them during the plea

             hearing. The Court also discussed with Barajas at the plea hearing the potential sentence

             implications:

                   THE COURT: Has anyone made any promises of leniency, a particular
                   sentence or a light sentence or a concurrent sentence, probation, or held out
                   to you any other inducement of any kind to get you to plead guilty? Has
                   anyone promised you anything to --

                   MR. STEWART (Barajas’s Counsel): If I may, Your Honor, I think I know
                   where his confusion is. He still has not been debriefed yet and it’s been
                   explained to him based on that debriefing the potential exists for some
                   downward departures.

                   THE COURT: For his - -

                   MR. STEWART: For the sentencing.

                   THE COURT: For his cooperation?

                   MR. STEWART: Yes, sir.


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                  THE COURT: Is that true, Mr. Magana?

                  THE DEFENDANT: Yes.

                  THE COURT: Okay. Have you been told by anyone what sentence the
                  Court would actually impose in the event you pled guilty to Count One of
                  this indictment?

                  MR. STEWART: And if I may interject again, Your Honor. Again,
                  depending on his cooperation and downward departures at sentencing, I
                  have advised him potentially what level that he would be at and what that
                  range would be.

                  THE COURT: Is that based on your interpretation of the guidelines?

                  MR. STEWART: That is correct, Your Honor, and I’ve also explained it,
                  that is just advisory to the Court.

                  THE COURT: Is that correct, Mr. Magana?

                  THE DEFENDANT: Yes.

                  THE COURT: Thank you. At this time I want to ask you a few questions
                  about the United States Sentencing Commission Guidelines which are now
                  advisory and not mandatory. Did you and your attorney talk about the U.S.
                  Sentencing Commission Guidelines and what sentence you might receive
                  pursuant to those guidelines?

                  THE DEFENDANT: Yes.

                                                   *****

                  THE COURT: Do you understand that it is not possible to determine the
                  guideline sentence for your case until after a presentence report has been
                  prepared and submitted by the probation department and you and the
                  Government have had an opportunity to read, examine, and challenge the
                  facts found in that probation report? Do you understand that?


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                   THE DEFENDANT: Yes.

                   THE COURT: Do you also understand that after it has been determined
                   what guideline applies to a case, the judge has the authority, in some
                   circumstances, to impose a sentence that is more severe or less severe than
                   the sentence called for by the guideline?

                   THE DEFENDANT: Yes.

                                                    *****

                   THE COURT: Do you understand that if the sentence is more severe than
                   you expected you will still be bound by your plea and will have no right to
                   withdraw it?

                   THE DEFENDANT: Yes.

                   THE COURT: Do you understand that if I do not accept the sentencing
                   recommendation in your plea agreement, should there be one, you will still
                   be bound by your plea and will have no right to withdraw it?

                   THE DEFENDANT: Yes.

             [Doc. 1369 at 13-15, 16-17].

                   Regardless of what Barajas’s counsel allegedly told him about the possible

             sentence he could receive, this Court informed Barajas during his guilty plea hearing,

             and the plea agreement stated, that he faced a mandatory minimum sentence of ten years

             and a potential maximum sentence of life in prison. [Doc. 545 at 2; Doc. 1369 at 11].

             Barajas was also informed that his ultimate sentence was up to the Court, and that he

             would be unable to withdraw his plea if the sentence were “more severe” than what he



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             expected. See Patel v. United States, 252 F. App’x 970, 975 (11th Cir. 2007) (rejecting

             ineffective assistance of counsel claim where statements made during plea colloquy

             indicated petitioner was advised of maximum sentence and that counsel’s predictions as

             to sentence were not binding).

                   Barajas also appears to be arguing that the government violated the plea

             agreement by advocating for a two-level enhancement for Barajas’s leadership role in

             the offense. Barajas contends that he and his counsel reasonably believed that the plea

             agreement meant that he would be sentenced based on a total offense level of 35 (38 less

             3 levels for acceptance of responsibility) without any additional enhancements.

             However, the plea agreement did not address the application of the role in the offense

             provision of the Sentencing Guidelines, and Paragraph 12 of the plea agreement states

             that, “[e]xcept as expressly stated elsewhere in this Plea Agreement, the Government

             also reserves the right to make recommendations regarding application of the Sentencing

             Guidelines.” Therefore, the government did not violate the plea agreement.

                   To the extent that Barajas is arguing that counsel erroneously advised him that he

             would be sentenced based on a total offense level of 35 without any other enhancements,

             again, this representation is contradicted by the explicit statements of the court and the

             plea agreement (quoted above). Moreover, the Court stated at the time of the sentencing

             that “ a sentence under either the guidelines or pursuant to the factors outlined in


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             Section 3553 would be essentially the same.” [Doc. 1370 at 11]. Therefore, Barajas

             cannot show that he was prejudiced by the guideline calculation that included an

             enhancement for his role in the offense.

                   In addition, Barajas has failed to meet the Strickland standard on his ineffective

             assistance claim that counsel “failed to negotiate favorable results” for Barajas. The

             right to effective assistance of counsel does not guarantee that counsel will be the best

             negotiator. See United States v. Springs, 988 F.2d 746, 749 (7th Cir. 1993) (“The

             Constitution does not ensure that lawyers will be good negotiators, locking in the best

             plea bargains available.”). Thus, the claim, in itself, does not show how counsel was

             ineffective.

                   Furthermore, Barajas’s claim is in conflict with his statements about his

             satisfaction with counsel. At the plea hearing, the Court specifically asked Barajas if he

             was “satisfied with the representation of [his] lawyer in this case,” and Barajas answered

             “yes.” [Doc. 1369 at 20]. Barajas made the same acknowledgment in his plea

             agreement: “I am fully satisfied with the representation provided to me by my attorney

             in this case.” [Doc. 545 at 14]. Indeed, the 210-month sentence received by Barajas was

             lower than the maximum sentence of life that he faced and at the lowest end of his

             guideline range.




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                   Finally, with respect to all of his claims, Barajas has not shown that there was a

             reasonable probability that, but for counsel’s alleged errors, he would not have pleaded

             guilty and would have insisted on going to trial. For all of these reasons, Barajas’s

             ineffective assistance of counsel claims are without merit.

             III CERTIFICATE OF APPEALABILITY

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

             §2253(c)(2), a certificate of appealability shall not issue unless “the applicant has made

             a substantial showing of the denial of a constitutional right.” A prisoner satisfies this

             standard by demonstrating that reasonable jurists would find that the district court’s

             assessment of his constitutional claims is debatable or wrong and that any dispositive

             procedural ruling by the district court is likewise debatable. See Miller-El v. Cockrell,

             537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

                   Barajas has failed to make a substantial showing of the denial of a constitutional

             right. Barajas waived his right to collaterally attack his sentence, and the ineffective

             assistance of counsel claims not precluded by the waiver are without merit.

             Accordingly, I RECOMMEND that a certificate of appealability be DENIED.

             IV. CONCLUSION


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                  Based on the foregoing, I RECOMMEND that Barajas’s motion to vacate

             sentence [Doc. 1471] be DENIED.

                  IT IS FURTHER RECOMMENDED that a certificate of appealability be

             DENIED.

                  The Clerk is DIRECTED to terminate the referral to me.

                  IT IS SO RECOMMENDED, this 16th day of March, 2012.




                                                GERRILYN G. BRILL
                                                UNITED STATES MAGISTRATE JUDGE




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